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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA
                    VS                                              CASE NO. 1:09-CR-11-01 MMP
           JOSE SANCHEZ

                               FINANCIAL REFERRAL AND ORDER

Regarding release of funds for: X Fine,        Restitution,      Filing Fee,      Attorney Admission Fee,
   Copy Fee,     Bond,      Other (Specify)

By:      Jose Sanchez #20585-017               (Payee)
Address: FCI Forrest City Low
         PO Box 9000
         Forrest City, AR 72336

Receipt Number B041111DFLN109CR000011                    Date of Receipt       05/261/11

Motion: N/A

Explanation: Jose Sanchez’s $200.00 special assessment had a balance of $25.01. The Clerk’s office
received $50.00 on the April 2011 Bureau of Prisons (BOP) reports, resulting in an overpayment of
$24.99. According to the court dockets and financial records, Mr. Sanchez does not owe any additional
money. Requesting authorization to refund the $24.99 overpayment and any other payments we may
receive from the BOP for this case. There may be a timing difference on the BOP stopping payments for
this account.

JESSICA J. LYUBLANOVITS, Clerk of Court

Prepared by: ___s/Philip Detweiler___________
             Philip Detweiler, Financial Specialist                Date: June 1, 2011

Referred by:                               ,Deputy Clerk

                                          ORDER OF COURT

It is ORDERED this       1st     day of    June   , 2011, that the Clerk refund the identified funds to the
payee.



                                                       s/ Maurice M. Paul
                                                      MAURICE M. PAUL, SENIOR
                                                      UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
